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                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF KENTUCKY
                           EASTERN DIVISION AT COVINGTON
                                CASE NO. 2:21-CV-00072

  JEFFREY CUNDIFF                                    )                              PLAINTIFF
                                                     )
                                                     )
  V.                                                 )
                                                     )
  DOUGLAS ULLRICH, et al.,                           )                           DEFENDANTS


                          NOTICE OF CONVENTIONAL FILING



        Please take notice that the Plaintiff, Jeffrey Cundiff, through counsel, have

 conventionally filed the following:

 Exhibit 1 to Plaintiff’s Motion for Partial Summary Judgment- Dash Camera of Defendant
 Ullrich


                                            Respectfully submitted,


                                            s/ Christopher D. Roach
                                            Christopher D. Roach (95007)
                                            Benjamin T.D. Pugh (94032)
                                            PUGH & ROACH, ATTORNEYS AT LAW, PLLC
                                            28 West Fifth Street
                                            Covington, KY 41011
                                            859.291.5555
                                            chris@prlaw.legal; tom@prlaw.legal



                                 CERTIFICATE OF SERVICE

        I hereby certify that on November 30, 2022, a copy of the foregoing notice was served

 upon all counsel of record via the Court’s CM/ECF system.
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                                          /s/ Christopher D. Roach
                                          Christopher D. Roach
